
The decision of the court below was affirmed, by the Supreme Court, on May 17, 1880, in the following opinion :
Per Curiam.
The agreement between the parties, by which the defendant was to make the wagons, and the plaintiff to take them, and apply the price agreed upon on the note in question, was founded on a sufficient consideration. The agreement of one was a considera^ tion for the agreement of the other.
After the defendant had commenced the work, the plaintiff could not rescind the contract. The plaintiff could not, by commencing suit on the note before a reasonable time had elapsed for the completion of the wagons prevent the application of their fixed price on the note.
The sum tendered was sufficient to pay the residue of the note, with interest and costs. That tender was pleaded and kept good, therefore
Judgment affirmed.
